       Case 2:19-cv-01557-LMA-DMD Document 1 Filed 02/19/19 Page 1 of 5




                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA


NICKI LEVENDIS                                         *     CIVIL ACTION

VERSUS                                                 *     NO. 19-1557

HARRAH’S NEW ORLEANS MANAGE-                           *     SECTION
MENT CO., LLC, CAESARS LICENSE
COMPANY LLC, CEOC, LLC AND JAZZ                        *     JUDGE
CASINO COMPANY, LLC
*    *     *     *    *     *   *                      *     MAG.


                                    NOTICE OF REMOVAL

       NOW INTO COURT, through undersigned counsel, come Jazz Casino Company, L.L.C.

(“Jazz Casino”), Harrah’s New Orleans Management Company LLC (“HNOMC”), CEOC, LLC

(“CEOC”), and Caesars License Company LLC (“Caesars License”), defendants in the action

entitled “Nicki Levendis v. Harrah’s New Orleans Management Co., LLC, Caesars License

Company, LLC, CEOC, LLC and Jazz Casino Company, LLC” bearing Civil Action No. 2018-

12560, Division (N-08) in Civil District Court for the Parish of Orleans, State of Louisiana, to

notice removal of that Louisiana state court action to the United States District Court for the

Eastern District of Louisiana, and upon information and belief represents:

                                                  1.

        On 14 December 2018, plaintiff filed suit in Civil District Court for the Parish of

Orleans, State of Louisiana, alleging that on or about 21 January 2018 she slipped on a lemon

and water and fell in Harrah’s New Orleans Casino, resulting in serious personal injuries to

plaintiff (See Exhibit “A”).
       Case 2:19-cv-01557-LMA-DMD Document 1 Filed 02/19/19 Page 2 of 5




                                                   2.

       This Court has diversity of citizenship jurisdiction over this case under 28 U.S.C. §1332.

                                                   3.

       The parties have diverse citizenship:

               (a) Plaintiff is a citizen of the State of Louisiana;

               (b) Defendant Jazz Casino is a limited liability company owned by a single

member, JCC Holding Company II, LLC, which is owned by a single member, Caesars Growth

Harrah’s New Orleans, LLC, which is owned by a single member, Caesars Resort Collection,

LLC, which is owned by two members, Caesars Entertainment Resort Properties Holdco., LLC

and Caesars Growth Properties Parent, LLC. Caesars Entertainment Resorts Properties Holdco,

LLC is owned by a single member, Caesars Entertainment Corporation. Caesars Growth

Properties Parent, LLC is owned by a single member, Caesars Growth Partner LLC. Caesars

Growth Partner LLC is owned by a single member, Caesars Entertainment Corporation. Caesars

Entertainment Corporation is a Delaware corporation with its principal place of business in

Nevada. Thus, Jazz Casino is a citizen of the States of Delaware and Nevada.

               (c) Defendant HNOMC is a limited liability company owned by a single member,

CEOC, LLC, which is owned by a single member, Caesars Entertainment Corporation. Caesars

Entertainment Corporation is a Delaware corporation with its principal place of business in

Nevada. Thus, HNOMC is a citizen of the States of Delaware and Nevada.

               (d) Defendant CEOC is a limited liability company owned by a single member,

Caesars Entertainment Corporation. Caesars Entertainment Corporation is a Delaware

corporation with its principal place of business in Nevada. Thus, CEOC is a citizen of the States

of Delaware and Nevada.



                                                  2
       Case 2:19-cv-01557-LMA-DMD Document 1 Filed 02/19/19 Page 3 of 5




               (e) Defendant Caesars License is a limited liability company, which is owned by

a single member, Caesars Entertainment Corporation. Caesars Entertainment Corporation is a

Delaware corporation with its principal place of business in Nevada. Thus, Caesars License is a

citizen of the States of Delaware and Nevada.

                                                   4.

       There is complete diversity of citizenship between plaintiff, a citizen of Louisiana, and

the defendants, Jazz Casino, HNOMC, CEOC and Caesars License, citizens of Delaware and

Nevada.

                                                   5.

       Plaintiff’s Petition establishes that the amount in controversy exceeds $75,000 as plaintiff

alleges she suffered serious personal injuries, including a broken arm and broken nose, both of

which conditions required surgery, as well as back and neck pain and migraines as a result of this

accident. Plaintiff seeks damages for past, present and future physical pain and suffering, mental

and emotional anguish, disability, loss of enjoyment of life, physical impairment, and medical

expenses. (Exhibit “A,” Paragraphs 24 and 25).

                                                   6.

       Plaintiff, significantly, asserts in her Petition that her claim exceeds $50,000 to establish

her right to a jury trial in Louisiana state court and she did not include a general allegation, as

required by La. C.C.P. art. 893, that her claim is less than the requisite amount required to

establish that the federal court lacks jurisdiction due to the insufficiency of damages.

                                                   7.

       Pursuant to the provisions of 28 U.S.C. §§1441 and 1446, this action is one which may be

removed to the United States District Court for the Eastern District of Louisiana.



                                                  3
       Case 2:19-cv-01557-LMA-DMD Document 1 Filed 02/19/19 Page 4 of 5




                                                  8.

       Plaintiff’s state court action was filed on 14 December 2018. (See Exhibit “A”).

Defendant Caesars License received service of the Citation and Petition on 18 January 2019.

Therefore, this removal is timely under 28 U.S.C. §1446(b).

                                                  9.

       Written notice of the filing of this Notice of Removal is being delivered to Petitioner,

through her counsel of record, and a copy of this Notice of Removal will be filed with the Clerk

of the Civil District Court for the Parish Orleans.

       WHEREFORE, defendants, Jazz Casino Company, L.L.C., Harrah’s New Orleans

Management Company LLC, CEOC, LLC and Caesars License Company, LLC notice removal

of the above described state court action to this Court.

                                              Respectfully submitted,

                                              MURPHY, ROGERS, SLOSS,
                                               GAMBEL & TOMPKINS

                                              /s/ Robert H. Murphy
                                              ____________________________________
                                              Robert H. Murphy (#9850)
                                              rmurphy@mrsnola.com
                                              Jeffrey A. Raines (#11076)
                                              jraines@mrsnola.com
                                              701 Poydras Street
                                              Suite 400, Hancock-Whitney Center
                                              New Orleans, LA 70139
                                              Telephone: (504) 523-0400
                                              Facsimile: (504) 523-5574
                                              Attorneys for Jazz Casino Company, L.L.C.,
                                              Harrah’s New Orleans Management
                                              Company LLC, CEOC, LLC and Caesars License
                                              Company LLC




                                                  4
        Case 2:19-cv-01557-LMA-DMD Document 1 Filed 02/19/19 Page 5 of 5




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on 19 February 2019 a copy of the foregoing pleading was

sent to all counsel of record, either by operation of the Court's CM/ECF system, by hand, by e-

mail, by telefax or by placing same in the United States mail, properly addressed, and first class

postage prepaid.

                                              /s/ Robert H. Murphy
                                              ________________________________




4814-4709-9016, v. 1




                                                 5
